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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

EDWIN EARL GRAYSON and                         §
TYSON LEE GRAYSON                              §
    Plaintiffs,                                §
                                               §            Civil Action No. 1:21-cv-00439
V.                                             §
                                               §
SKYLARK LOGISTICS, INC.,                       §
SANDEEP SINGH CURRY, and                       §
RAJINDER KAUR LAMEY                            §
     Defendants.                               §

            NOTICE OF REMOVAL AND MOTION TO TRANSFER VENUE

TO THE HONORABLE COURT:

       COME NOW Defendants Skylark Logistics, Inc., Sandeep Singh Curry and Rajinder

Kaur Lamey, and file their Notice of Removal and Motion to Transfer Venue and would

respectfully show unto the Court as follows:

                                       BACKGROUND

       1.     This lawsuit arises from an accident involving two commercial vehicles that

occurred on April 3, 2020 in Bruceville-Eddy, McLennan County, Texas.1

                                 PROCEDURAL HISTORY

       2.     Plaintiffs filed suit in Cause No. D-1-GN-21-001295, in the 250th Judicial

District Court of Travis County, Texas on March 24, 2021.

       3.     Defendant Skylark Logistics, Inc. has not yet been served with Plaintiffs’ Original

Petition. Defendant Skylark Logistics, Inc. filed a timely answer subject to a Motion to Transfer

Venue on May 10, 2021.



1
 The Crash Report for the subject accident is attached hereto as Exhibit “A” and is incorporated
herein by this reference.
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       4.      Defendants Sandeep Singh Curry and Rajinder Kaur Lamey were served with

Plaintiffs’ Original Petition through the Texas Secretary of State. Defendants Sandeep Singh

Curry and Rajinder Kaur Lamey filed an answer subject to a Motion to Transfer Venue on May

10, 2021.

       5.      Defendant Skylark Logistics, Inc. has filed this Notice of Removal within the time

period required by 28 U.S.C. § 1446(b).

                                    NATURE OF THE SUIT

        6.     Plaintiffs allege that on or about April 3, 2020, they sustained damages as a result

of a commercial vehicle accident that occurred in Bruceville-Eddy, McLennan County, Texas.

       7.      According to Plaintiffs’ Original Petition, Plaintiff Edwin Earl Grayson is a part-

time citizen of the State of Texas. See Plaintiffs’ Original Petition, section II, paragraph 3. The

Texas Peace Officer’s Crash Report also states Plaintiff Earl Grayson is a resident of Bend,

Oregon with an Oregon driver’s license. See Exhibit A.

       8.      According to Plaintiffs’ Original Petition, Plaintiff Tyson Lee Grayson is a part-

time citizen of the State of Texas. See Plaintiffs’ Original Petition, section II, paragraph 4.

       9.      At all relevant times, Defendants Sandeep Singh Curry and Rajinder Kaur Lamey

were Canadian citizens residing in Woodstock, Canada. See Plaintiffs’ Original Petition, section

II, paragraphs 6 and 7.

       10.     At all relevant times, Skylark Logistics, Inc. was a company with its principal

place of business in Cambridge, Ontario, Canada. See Plaintiffs’ Original Petition, section II,

paragraph 5; and Exhibit B, Affidavit

       11.     Skylark Logistics, Inc. did not maintain a place of business in the State of Texas.

See Plaintiffs’ Original Petition, section II, paragraph 5; and Exhibit B, Affidavit



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       12.     Defendant Skylark Logistics, Inc. is a company incorporated under the laws of

Ontario, Canada. See Exhibit B, Affidavit.

                                    BASIS FOR REMOVAL

       13.     Removal is proper because there is complete diversity of citizenship between

Plaintiffs and Defendants.

       14.     Plaintiffs were part-time citizens of the State of Texas. See Plaintiffs’ Original

Petition, section II, paragraphs 3 and 4.

       15.     Defendants Sandeep Singh Curry and Rajinder Kaur Lamey are individuals who

at the time the lawsuit was filed, and at the time of the filing of Defendants’ Notice of Removal,

were domiciled in Woodstock, Ontario, Canada. At all relevant times, Defendants established

their citizenship and residence in Ontario, Canada where they currently live. See Plaintiffs’

Original Petition, section II, paragraphs 6 and 7.

       16.     Defendant Skylark Logistics, Inc.is a company incorporated under the laws of

Ontario, Canada, whose principal place of business has at all relevant times been maintained in

Cambridge, Ontario, Canada and whose citizenship is in Ontario, Canada.              See Plaintiffs’

Original Petition, section II, paragraph 5; and Exhibit B, Affidavit

       17.     As set forth in Plaintiffs’ Original Petition, the amount in controversy exceeds

$1,000,000, exclusive of interests, costs, and attorneys’ fees. See Plaintiffs’ Original Petition,

section I, paragraph 2.

       18.     All of the named Defendants consent to this removal.

                                 VENUE AND JURISDICTION

       19.     The Plaintiffs selected Travis County to file their lawsuit in the present case,



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despite it having no real connection to the accident or any party. Plaintiffs allege venue to be

proper because “all or a substantial part of the events giving rise to the claim occurred there”.

As shown by the Texas Peace Officer’s Crash Report, the accident made the basis of this lawsuit

occurred in McLennan County, Texas. See Exhibit A, Texas Peace Officer’s Crash Report.

         20.     Defendants challenge the venue chosen by Plaintiffs and move to remove this

case subject to their Motion to Transfer Venue, infra. However, Defendants are required to

remove the case to the present division pursuant to 28 U.S.C. § 1441(a) because this district and

division represent the location in which the removed action has been pending.

         21.     This Court has jurisdiction of this action by virtue of the provisions of 28 U.S.C. §

1332 in that this is a case of diversity of citizenship between the parties with the amount in

controversy exceeding $75,000.00, exclusive of interest and costs. See generally Garcia v. Koch

Oil of Texas, Inc., 351 F.3d 636, 638 (5th Cir. 2003).

                            DEFENDANTS’ NOTICE OF REMOVAL
                               IS PROCEDURALLY CORRECT

         22.     Defendants have attached to this notice all process, pleadings and orders filed in

the state court action as required by 28 U.S.C. §1446(a). See Exhibit C, Index of Matters Being

Filed.

                                          JURY DEMAND

         23.     Plaintiffs made a demand for a jury trial in State District Court. Defendants also

made a demand for a jury trial in State District Court.

                                  NOTICE TO STATE COURT

         24.      Defendants will promptly file a copy of this Notice of Removal with the Clerk of

the State Court in which this action is pending.




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                                                    Respectfully submitted,

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                                               By: /s/ Lynn S. Castagna
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                                                    ATTORNEYS FOR DEFENDANTS




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document has been served
upon the following person(s), in the manner(s) indicated below:

    VIA FACSIMILE: 713/739-8347                      VIA FACSIMILE: 903/893-5558
    And/or VIA E-SERVICE                             And/or VIA E-SERVICE
    Micky N. Das                                     Christopher Rehmet
    Tyler & Das                                      Tate Rehmet Law Office, P.C.
    1811 Bering Drive, Suite 225                     2902 N. U.S. Highway 75
    Houston, Texas 77057                             Sherman, Texas. 75090

and in accordance with the Federal Rules of Civil Procedure, on the 18th day of May, 2021.



                                                      /s/ Lynn S. Castagna
                                                     Lynn S. Castagna




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